                     Case 1:09-cr-00073-JRH-BKE Document 524 Filed 10/24/16 Page 1 of 6
                                                                                   FILED
                                                                            U.S. DISTRICT COURT
                                                                                                                            AMCUST.'i DIV.
GAS 245D         (Rev. 09/11) Judgment in a Criminal Case for Revocations
                 Sheet I

                                                                                                                      ;OI[.OCT2li PH3-0li
                                         United States District Court,                                                        Ca^o.^^
                                                              Southern District of Georgia                                  50. DIST. OF GA.
                                                                     Augusta Division

             UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                                  V.
                                                                                   (For Revocation of Probation or Supervised Release)
           Brian Christopher Harris, aka "Mookie"
                                                                                    Case Number:               l:09CR00073-4

                                                                                    USM Number:               14161-021

                                                                                    Alicia Brooke Jennings
                                                                                    Defendant's Attorney
THE DEFENDANT:

□ admitted guilt to violation of a mandatory condition of the term of supervision.
S was found in violation of condition            1 (mandatory condition)                           after denial of guilt.

The defendant is adjudicated guilty of these offenses:

   Violation Number              Nature of Violation                                                                         Violation Ended


             1                   The defendant committed another federal, state, or local crime (mandatory                   April 1,2016
                                 condition).


         The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

□ The defendant has not violated condition(s)                                                    and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                            October 20, 2016
Last Four Digits of Defendant's Soc. Sec: 3614                              Date of Imposition ofia    ment




Defendant's Year of Birth: 1981
                                                                            Signatur^.of Judge

City and State of Defendant's Residence:

Augusta. Georgia                                                            J. Randal Hall
                                                                            United States District Judge

                                                                            Name and Title of Judge



                                                                                                       Z0/(o
                                                                            Date
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